                                                                      EXHIBIT
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                                                                For the reasons set forth below, the motion to dismiss is
                   2023 WL 4175344                              denied.
      Only the Westlaw citation is currently available.
        United States District Court, D. Vermont.
                                                                                    Factual Background
     BURLINGTON SCHOOL DISTRICT, Plaintiff,
                        v.                                      According to the allegations in the Complaint, Monsanto
          MONSANTO CO., Solutia, Inc.,                          manufactured, marketed, sold, and distributed PCBs
          and Pharmacia LLC, Defendants.                        beginning in the 1920s. At least 99% of all PCBs sold in the
                                                                United States were manufactured by Monsanto. PCBs were
                    Case No. 2:22-cv-215                        used in building materials and have reportedly been shown to
                              |                                 off-gas harmful toxins. The Complaint alleges that Monsanto
                    Signed June 26, 2023                        knew about the dangers posed by PCBs as early as the 1930s
                                                                and misled the public, including BSD, about those dangers.
Attorneys and Law Firms                                         Monsanto stopped manufacturing PCBs in the 1970s.
Emily J. Joselson, Esq., Langrock Sperry & Wool, LLP,
                                                                BSD owns Burlington High School and Burlington Technical
Middlebury, VT, Lisa B. Shelkrot, Esq., Langrock Sperry &
                                                                Center (the “School”). Most of the six School buildings were
Wool, Burlington, VT, Wesley Kelman, Esq., Pro Hac Vice,
                                                                constructed in the mid-1960s. PCBs were discovered at the
Matthew F. Pawa, Esq., Seeger Weiss LLP, Newton Centre,
                                                                School in July 2019 in the course of environmental testing
MA, Viola Vetter, Esq., Pro Hac Vice, Grant & Eisenhofer
                                                                related to a planned renovation of the campus. Additional
P.A., Wilmington, DE, for Plaintiff.
                                                                testing in 2020 allegedly revealed PCB levels that exceeded
Ian P. Carleton, Esq., Devin T. McKnight, Esq., Alexandrea L.   health and safety standards.
Nelson, Esq., Sheehey Furlong & Behm P.C., Burlington, VT,
Stephen I. Hansen, Esq., Pro Hac Vice, Richard L. Campbell,     As a result of the high PCB levels, BSD shut down the School
Esq., Shook, Hardy & Bacon LLP, Boston, MA, Thomas M.           in September 2020 and leased a former Macy's department
Goutman, Esq., Pro Hac Vice, Shook, Hardy & Bacon L.L.P.,       store to serve as a temporary educational facility for its
Philadelphia, PA, for Defendants.                               students. The Complaint alleges that after exploring options
                                                                for remediating the School, BSD determined that it needed
                                                                to raze most of the buildings and replace them. Design,
                                                                construction, and replacement of the facilities, together with
                 OPINION AND ORDER
                                                                demolition and removal of PCB-contaminated facilities and
William K. Sessions III, United States District Court Judge     soils, will reportedly cost at least $190 million. BSD brings
                                                                this lawsuit against Monsanto to recover those costs.
 *1 The Burlington School District (“BSD”) commenced this
action after discovering polychlorinated biphenyls (“PCBs”)     The Complaint asserts six causes of action: public nuisance;
at Burlington High School. Defendants Monsanto Co.,             private nuisance; strict liability – defective design; strict
Solutia, Inc., and Pharmacia LLC (collectively “Monsanto”)      liability – failure to warn; trespass; and negligence. Pending
are successors to the old Monsanto company, which was the       before the Court is Monsanto's motion to dismiss the
primary manufacturer of PCBs in the United States for several   Complaint. Monsanto argues in part that all of BSD's claims
decades. The Complaint alleges that Monsanto failed to alert    are barred by Vermont's six-year statute of limitations because
BSD to the dangers posed by the presence of PCBs in school      BSD knew or reasonably should have known, no later than
buildings, testing revealed dangerous levels of PCBs on the     2015, that school buildings built in the 1960s could have
school campus, and Monsanto is now liable for the cost of       actionable levels of PCBs. BSD filed its Complaint in 2022.
razing and rebuilding the school. Pending before the Court is   Monsanto also argues that BSD has failed to state plausible
Monsanto's motion to dismiss the entire case as untimely, and   claims for private nuisance, public nuisance, and trespass as
in the alternative to dismiss BSD's public nuisance, private    a matter of law. BSD opposes the motion to dismiss.
nuisance, and trespass counts for failure to state a claim.




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                                                                    186 F.3d 243, 250 (2d Cir. 1999) (“[D]ismissal is appropriate
                                                                    only if a complaint clearly shows the claim is out of
                          Discussion
                                                                    time.”). Dismissal is not appropriate when, notwithstanding
I. Motion to Dismiss Standard                                       a plaintiff's allegations and any judicially-noticeable facts,
 *2 Federal Rule of Civil Procedure 12(b)(6) provides for           there remain material questions of fact. See, e.g.,       OBG
dismissal of a complaint when the plaintiff fails to allege         Tech. Servs., Inc. v. Northrop Grumman Space & Mission Sys.
sufficient facts “to state a claim to relief that is plausible on   Corp., 503 F. Supp. 2d 490, 503 (D. Conn. 2007) (“A statute
its face.”   Bell Atlantic Corp. v. Twombly, 550 U.S. 544,          of limitations defense [ ] most often ... requires a factual
570 (2007); see Fed. R. Civ. P. 12(b)(6). A claim is facially       inquiry beyond the face of the complaint”). “[T]he defendant
plausible only “when the plaintiff pleads factual content that      bears the burden of establishing by prima facie proof that
allows the court to draw the reasonable inference that the          the limitations period has expired since the plaintiff's claims
                                                                    accrued.” Overall v. Estate of Klotz, 52 F.3d 398, 403 (2d Cir.
defendant is liable for the misconduct alleged.”        Ashcroft
                                                                    1995) (citation omitted).
v. Iqbal, 556 U.S. 662, 678 (2009) (citing        Twombly, 550
U.S. at 556). In reviewing a motion to dismiss, a court must        BSD filed its Complaint on December 9, 2022, approximately
accept the factual allegations set forth in the complaint as true   three years after receiving the PCB test results for the School.
and draw all reasonable inferences in favor of the plaintiff.       Monsanto contends that BSD should have known sooner, and
                                                                    by 2015 at the latest, about the presence of PCBs. For support,
   Cleveland v. Caplaw Enters., 448 F.3d 518, 521 (2d Cir.
                                                                    Monsanto cites allegations in the Complaint describing public
2006). A court's function on a motion to dismiss is “not to
                                                                    awareness of PCBs and their inherent dangers. Monsanto also
weigh the evidence that might be presented at a trial but
                                                                    cites a 2013 memorandum from the Vermont Department
merely to determine whether the complaint itself is legally
                                                                    of Health, in which the State noted elevated levels of
sufficient.”    Goldman v. Belden, 754 F.2d 1059, 1067 (2d          PCBs in schools in the Northeast and described a new
Cir. 1985).                                                         pilot study to investigate PCBs in Vermont schools. The
                                                                    following year, the Department of Health notified BSD that
                                                                    it had detected PCBs above acceptable screening levels at
II. Timeliness
                                                                    an elementary school within the school district. In 2015, the
There is no dispute that BSD's claims are subject to
                                                                    federal Environmental Protection Agency (“EPA”) notified
Vermont's statutory limitations period for civil actions.
                                                                    schools of the widespread use of PCBs in building materials
Under the Vermont statute, 12 V.S.A. § 511, a civil action
                                                                    and recommended that schools consider remediation and, if
must “be commenced within six years after the cause of
                                                                    appropriate, indoor air testing.
action accrues.” “[A]ccrual occurs upon ‘discovery of facts
constituting the basis of the cause of action or the existence
                                                                     *3 BSD concedes the allegations in its Complaint and
of facts sufficient to put a person of ordinary intelligence
                                                                    argues that those facts, together with the information cited by
and prudence on inquiry which, if pursued, would lead to the
                                                                    Monsanto, were insufficient to trigger the limitations period.
discovery.’ ” Sutton v. Purzycki, 2022 VT 56, ¶ 81 (quoting
                                                                    BSD contends that the information distributed prior to 2019
Abajian v. TruexCullins, Inc., 2017 VT 74, ¶ 12). “In other
                                                                    was non-specific, that the question of claim accrual involves
words, discovery occurs and the limitations period begins
                                                                    issues of fact to be explored in discovery, and that dismissal
when a plaintiff ‘knows or should know of the injury and its
                                                                    at this early stage in the case would be premature. The Court
cause.’ ” Sutton, 2022 VT 56, ¶ 81 (quoting McLaren v. Gabel,
                                                                    agrees.
2020 VT 8, ¶ 35). 1
                                                                    The information cited by Monsanto suggests BSD knew or
Dismissal based on a statute of limitations is appropriate when     should have known that, in general, older buildings could
“it is clear from the face of the complaint, and matters of         contain PCBs. The allegations and cited evidence do not
which the court may take judicial notice, that the plaintiff's      establish what BSD knew or should have known about the
claims are barred as a matter of law.”    Staehr v. Hartford        need to test for actionable levels of PCBs at the School.
Fin. Servs. Grp., 547 F.3d 406, 425 (2d Cir. 2008) (emphasis        The Department of Health observed that PCBs were being
                                                                    discovered in buildings within the northeastern United States.
and citation omitted); see also     Harris v. City of New York,     When a pilot study tested for PCBs in four Vermont schools,


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“[t]here were detections of PCBs in two of the schools”              and recommending remedial measures was “on its own
including a BSD elementary school. ECF No. 11-3 at 2. The            [in]sufficient notice as a matter of law.” 202 F. Supp. 3d 181,
recommendation from State officials was to replace certain           189 (D. Mass. 2016). “Without the benefit of discovery, the
light fixtures and clean surfaces. Testing at other schools was      Court's context within which to assess the degree of notice
recommended (“You should consider testing”) if the schools           provided by the press release is significantly limited.” Id. at
had old and/or leaking fluorescent lighting ballasts that were       190.
likely to contain PCBs, or if the schools had not participated in
a State-sponsored lighting upgrade in the 1990s. Id. Nothing          *4 Because Monsanto has raised the statute of limitations
in the Complaint or the information cited by Monsanto                issue at the motion to dismiss stage, the Court must “draw
indicates whether BSD was compelled to consider testing at
                                                                     all reasonable inferences in favor” of BSD.       Kassner v.
that time. Nor does the record show that BSD knew or should
                                                                     2nd Ave. Delicatessen Inc., 496 F.3d 229, 237 (2d Cir. 2007).
have known of “the injury and its cause.” McLaren, 2020 VT
                                                                     Employing that standard, the Court finds that Monsanto is not
8, ¶ 35.
                                                                     entitled to dismissal based upon on the current record. See,

The cited guidance from the EPA suggested consulting                 e.g.,   Allen v. Dairy Farmers of Am., Inc., 748 F. Supp.
with the EPA Regional PCB Coordinator with respect to                2d 323, 354 (D. Vt. 2010) (“A statute of limitations analysis
any potential testing. ECF No. 11-5 at 1. The document               is generally riddled with questions of fact.”). The motion to
also acknowledged that each situation was unique, and that           dismiss for failure to file within the statutory time limit is
multiple factors needed to be considered when deciding on            therefore denied.
testing. Id. at 11. The EPA further recommended that schools
conduct testing during renovations and repairs, id. at 10,
                                                                     III. Nuisance
which is what BSD did in 2019. In sum, the evidence cited
                                                                     Monsanto next moves to dismiss BSD's claims of private
in the motion to dismiss does not establish that BSD was on
                                                                     and public nuisance. A private nuisance is “a substantial and
sufficient notice to perform testing, or that its knowledge of
                                                                     unreasonable interference with a person's interest in the use
an injury was sufficient for a cause of action to accrue, prior to
                                                                     and enjoyment of land.” Jones v. Hart, 2021 VT 61, ¶ 26.
2019. See, e.g.,     In re Methyl Tertiary Butyl Ether (MTBE)        A public nuisance is “an unreasonable interference with a
Prod. Liab. Litig., 725 F.3d 65, 112 (2d Cir. 2013) (holding         right common to the general public.” Restatement (Second)
that despite city's knowledge of likely contamination, claim         of Torts § 821B(1); see State v. Howe Cleaners, Inc., 2010
did not accrue when city did not know whether property               VT 70, ¶ 49 (citations omitted). Although private and public
“had already been contaminated or that the contamination             nuisance are distinct causes of action, the distinction lies
was significant enough to justify an immediate or specific           primarily in the nature and breadth of the impact. “The public
remediation effort”).                                                nuisance is an injury to the public at large or to all persons
                                                                     who come in contact with it; the private nuisance is injury
Other courts have reached this same conclusion in PCB-               to an individual or a limited number of individuals only.”
related litigation. City of San Jose v. Monsanto Co., 231 F.
                                                                        Adams v. Comm'rs of Trappe, 102 A.2d 830, 834 (Md.
Supp. 3d 357, 366 (N.D. Cal. 2017) (noting that “[t]he extent
of the Cities’ knowledge of PCB contamination, and whether           1954); see also      Wietzke v. Chesapeake Conf. Ass'n, 26
that knowledge limits the available relief, cannot be decided        A.3d 931, 943 (Md. 2011) (same). “When the nuisance, in
on a motion to dismiss”); Cnty. of Los Angeles v. Monsanto           addition to interfering with the public right, also interferes
Co., No. CV 19-4694-GW-AFMX, 2019 WL 13064885, at *8                 with the use and enjoyment of the plaintiff's land, it is a private
(C.D. Cal. Nov. 21, 2019) (“While Defendants have pointed
                                                                     nuisance as well as a public one.”  Willmschen v. Trinity
to facts indicating that the waters managed by Plaintiffs
                                                                     Lakes Improvement Ass'n, 840 N.E.2d 1275, 1282–83 (Ill.
were subject to regulation of PCBs between 2005 and 2012,
                                                                     App. 2005) (quoting Restatement (Second) of Torts § 821C,
Defendants have not shown that that necessarily means
                                                                     comment e).
that Plaintiffs would have known of their injury at those
times.”). For example, in Town of Princeton v. Monsanto
                                                                     The Vermont Supreme Court has not addressed either type
Company, Solutia Inc., and Pharmacia Corporation, the
                                                                     of claim in the context of a product manufacturer defendant.
court found that a general press release issued by the EPA
                                                                     When state law is uncertain or ambiguous on an issue, the
to school administrators expressing the dangers of PCBs


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role of this Court is “carefully to predict how the highest         13368654, at *3 (citing Restatement (Second) of Torts § 834
court of the forum state would resolve the uncertainty or           and cmts. d and e).
ambiguity.” Yukos Cap. S.A.R.L. v. Feldman, 977 F.3d 216,
                                                                    As noted in 3M, the Restatement provides that “[o]ne is
241 (2d Cir. 2020) (internal quotation marks omitted). “In
                                                                    subject to liability for a nuisance caused by an activity,
doing so, [the Court] give[s] fullest weight to the decisions
                                                                    not only when he carries on the activity but also when
of a state's highest court and proper regard to the decisions
                                                                    he participates to a substantial extent in carrying it on.”
of a state's lower courts, and [ ] also consider[s] the decisions
                                                                    Restatement (Second) of Torts § 834. The Restatement
of federal courts construing state law.” Id. (internal quotation
                                                                    further provides that liability for private nuisance may arise
marks omitted). The Court further notes that when state law is
                                                                    where “one person's acts set in motion a force or chain
undeveloped, “the Vermont Supreme Court frequently looks
                                                                    of events resulting in the invasion.” Restatement (Second)
to the Restatement for guidance.” Leavitt v. Ethicon, Inc.,
                                                                    of Torts § 824 cmt. b (cited in           City of Chicago v.
524 F. Supp. 3d 360, 368 (D. Vt. 2021) (citing Birchwood
                                                                    Beretta U.S.A. Corp., 821 N.E.2d 1099, 1133 (Ill. 2004)). For
Land Co. v. Krizan, 2015 VT 37, ¶ 9 (“We frequently have
                                                                    public nuisance claims, Vermont follows Section 821B of the
adopted provisions of this Restatement where our law is
                                                                    Restatement, Howe Cleaners, Inc., 2010 VT 70, ¶ 49, which
undeveloped.”)).
                                                                    describes, in part, an unreasonable interference with a public
                                                                    right where the “conduct is of a continuing nature or has
Monsanto first challenges BSD's private nuisance claim,
                                                                    produced a permanent or long-lasting effect, and, as the actor
arguing that such a claim is limited to nuisances caused
                                                                    knows or has reason to know, has a significant effect upon the
by a defendant's use of its own, neighboring property. BSD
                                                                    public right.” Restatement (Second) of Torts § 821B(1), (2)
contends that a private nuisance claim may also be brought
                                                                    (c).
against a manufacturer whose land is not nearby. Both sides
claim support from Vermont lower court rulings. Compare
                                                                    The Restatement's “substantial participation” standard
State v. 3M Co., No. 547-6-19 CNCV, 2020 WL 13368654,
                                                                    applies to both private and public nuisance claims.
at *4 (Vt. Super. May 28, 2020) (concluding that a private
                                                                    Restatement (Second) of Torts § 834 & cmt. a. Courts have
nuisance claim need not originate on a neighboring property)
                                                                    held that “substantial participation” is “satisfied when there
with    State v. Atl. Richfield Co., No. 340-6-14 WNCV,             was evidence that the defendant, having sold a toxic or
2018 WL 11358617, at *9 (Vt. Super. July 31, 2018)                  dangerous substance to an identified third party, continued to
(dismissing private nuisance claim alleging contamination           sell the same product to the third party for a profit knowing
of Vermont waters from a non-neighboring source). The               that that third party would continue to use it in a manner
Restatement (Second) of Torts does not specify whether a
                                                                    that maintained the nuisance.”  SUEZ Water New York Inc.
private nuisance must originate on neighboring land. See
                                                                    v. E.I. du Pont de Nemours & Co., 578 F. Supp. 3d 511,
Restatement (Second) of Torts § 821D.
                                                                    548 (S.D.N.Y. 2022) (referencing New York law); see also
 *5 With regard to public nuisance, the same lower                     In re MTBE Prod. Liab. Litig., 725 F.3d at 121 (citing
Vermont courts again reached different conclusions. Atlantic        Restatement (Second) of Torts § 834 and upholding jury
Richfield rejected a public nuisance claim brought against          verdict where “Exxon was aware of MTBE's tendency to
manufacturers and distributors of gasoline containing MTBE,         spread quickly once released into groundwater. In sum, the
although the court focused on statute of limitations and            evidence supports a finding that Exxon knew that MTBE
                                                                    gasoline it manufactured would make its way into Queens,
private access concerns that are not presented here.        2018
                                                                    where it was likely to be spilled, and once spilled, would
WL 11358617, *11; see State v. Purdue Pharma L.P., No.
                                                                    likely infiltrate the property of others.”).
757-9-18 CNCV, 2019 WL 13274415, at *3 (Vt. Super.
Mar. 19, 2019) (finding public nuisance analysis in Atlantic
                                                                    Here, Monsanto manufactured products with the knowledge
Richfield not “useful” since statute of limitations and access
                                                                    that those products would be used in buildings, and allegedly
to private lands were “not concerns in this case”). The 3M
                                                                    knew that the products would be harmful to the people around
court allowed a public nuisance claim, noting “language in
                                                                    them. The Complaint also alleges that Monsanto withheld its
the Restatement suggesting that ... ‘substantial participation’
                                                                    knowledge from the public. Accepting those allegations as
in a chain of actions can be sufficient” for liability. 2020 WL
                                                                    true, it is plausible that Monsanto “substantially participated”



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in the creation of a hazardous condition that deprived BSD of    required element to plead public nuisance under Maryland
the enjoyment of its property and significantly infringed upon   law”).
the public right. See   Abbatiello v. Monsanto Co., 522 F.
                                                                 Given the significant guidance provided by the Restatement,
Supp. 2d 524, 541 (S.D.N.Y. 2007) (allowing nuisance claim
                                                                 and the Vermont Supreme Court's established practice of
to proceed on a motion to dismiss where Monsanto allegedly
                                                                 turning to the Restatement when presented with novel legal
made a conscious decision to suppress and conceal facts).
                                                                 questions, the Court predicts that Vermont would allow BSD's
                                                                 nuisance claims to proceed at the motion to dismiss stage.
 *6 Monsanto argues that it cannot be held liable for nuisance
                                                                 The allegations against Monsanto, yet unproven, describe or
because it did not control the PCB-containing products
                                                                 infer substantial participation in conduct that was harmful,
when they allegedly caused harm. The PCBs were instead
                                                                 intentional, and unreasonable. Such conduct has been held
controlled by the buyers of Monsanto's products, and it was
                                                                 sufficient for a nuisance claim. See, e.g., Illinois ex rel. Raoul,
they who placed those products in the School. The 3M court
                                                                 2023 WL 3292591, at *3 (denying Monsanto's motion to
addressed and rejected this same “control” argument:
                                                                 dismiss a nuisance claim);      Commonwealth v. Monsanto
                                                                 Co., 269 A.3d 623, 652-53 (Pa. Commw. Ct. 2021) (allowing
            3M argues that the complaint lacks                   public nuisance claim where Monsanto was allegedly
            a necessary allegation that the                      “responsible for PCBs entering the Commonwealth's waters
            Defendants controlled the PFAS at                    because Defendants knew that the uses for which they
            the time of the nuisance, and could                  marketed, sold, and distributed PCB mixtures would result
            not so allege because Defendants                     in leaching, leaking, and escaping their intended applications
            relinquished control when they sold                  and contaminating (i.e., polluting) those waters”); see also
            the products. 3M cites no Vermont                    United States v. Ira S. Bushey & Sons, Inc., 363 F. Supp. 110,
            caselaw supporting this argument, and                121 (D. Vt. 1973) (citing updated Restatement and upholding
            the State accurately points to language              federal common law nuisance claim against alleged polluter
            in the Restatement suggesting that                   of Lake Champlain).
            a defendant may be held liable
            for harm that continues after that                   Monsanto submits that any extension of Vermont nuisance
            defendant's actions have ceased, and                 law requires a “compelling public policy” reason. See
            that “substantial participation” in a                   Langle v. Kurkul, 146 Vt. 513, 320 (1986). For such a
            chain of actions can be sufficient.                  reason, the Court need look no further than the allegation of
            Restatement (Second) of Torts § 834                  knowing and widespread private and public harm resulting
            and cmts. d and e (1979). Other
            courts have rejected similar claims                  from the manufacture and use of PCBs. See, e.g.,           Cnty.
                                                                 of Santa Clara v. Atl. Richfield Co., 40 Cal. Rptr. 3d 313,
            by manufacturers. See, e.g.,       In re             329 (Cal. App. 2006) (“We do not believe that the fact that
            Methyl Tertiary Butyl Ether (MTBE)                   defendants were manufacturers and distributors of lead means
            Prod. Liab. Litig., 725 F.3d 65, 121 (2d             that they may not be held liable for their intentional promotion
            Cir. 2013).                                          of the use of lead paint on the interiors of buildings with
                                                                 knowledge of the public health hazard that this use would
                                                                 create.”). Monsanto's motion to dismiss BSD's nuisance
2020 WL 13368654, at *3. Moreover, “[c]ourts interpreting        claims is denied.
[Restatement (Second) of Torts § 821B] generally reject
attempts to impose a control requirement, instead focusing on
whether the defendant created or participated in the creation    IV. Trespass
of the nuisance.” Illinois ex rel. Raoul v. Monsanto Co.,         *7 Monsanto next contends that BSD fails to state a claim
No. 22 C 5339, 2023 WL 3292591, at *2 (N.D. Ill. May 5,          for trespass because there was no invasion or intrusion.
2023) (citation omitted); see also Mayor & City Council of       Specifically, Monsanto contends that PCBs were brought onto
Baltimore v. Monsanto Co., No. CV RDB-19-0483, 2020 WL           the property by BSD itself, and that mere knowledge of the
1529014, at *9 (D. Md. Mar. 31, 2020) (“control is not a         presence of PCBs at the School is insufficient for liability



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                                                                       WL 3292591, at *4 (“The State has alleged that Monsanto
in trespass. Monsanto also argues that PCBs migrated from
                                                                       knew that the intended uses of its products would cause
building products within the School onto adjacent surfaces
                                                                       PCBs to invade Illinois[’] natural resources, due to the laws
also within the School, and thus did not enter (trespass upon)
                                                                       of physics and chemistry. No more is required for notice
the School from a separate piece of land.
                                                                       pleading.”); see also     In re MTBE Prod. Liab. Litig., 725
“Liability for trespass arises when one intentionally enters           F.3d at 120 (upholding trespass verdict where the jury found it
                                                                       “was substantially certain that [Exxon's] gasoline containing
or causes a thing to enter the land of another.”  Canton
                                                                       MTBE would leak from the gasoline distribution system and
v. Graniteville Fire Dist. No. 4, 171 Vt. 551, 552 (2000)
                                                                       enter groundwater”). The motion to dismiss BSD's trespass
(mem.) (citing Restatement (Second) of Torts § 158(a)). 2
                                                                       claim is denied.
Under the Restatement, “[i]t is enough that an act is done
with knowledge that it will to a substantial certainty result
in the entry of the foreign matter.” Restatement (Second) of
                                                                                                Conclusion
Torts § 158 cmt. i; see also Canton, 171 Vt. at 552 (“one
who causes water to enter the land of another is liable for            For the reasons set forth above, Monsanto's motion to dismiss
trespass”).                                                            (ECF No. 11) is denied.

The Complaint alleges that Monsanto knew its PCBs were
substantially certain to enter School property. At this early          All Citations
stage in the case, that allegation is sufficient for a plausible
                                                                       Slip Copy, 2023 WL 4175344
claim of common law trespass. See Illinois ex rel. Raoul, 2023




                                                           Footnotes


1      BSD informs the Court that the Governor of Vermont recently signed into law S.33, which creates a new
       accrual date for environmental contamination claims. The new law provides, in part, that a cause of action
       “shall accrue so long as the contamination remains on or in an affected property or natural resource.” ECF No.
       32 at 1 (quoting Section 26 of S.33). The accrual date applies to actions that were pending on the effective
       date of the act. Id. at 2. The parties have not fully briefed whether S.33 impacts this case, and the Court
       offers no opinion on that issue at this time.

2      The Vermont Supreme Court has expressly declined to determine whether the presence of airborne particles
       constitutes a trespass.    John Larkin, Inc. v. Marceau, 2008 VT 61, ¶ 14 (“We leave for another day the
       question of whether the intrusion of airborne particulates may ever be a trespass, and, if so, what impact
       is required to sustain such an action.”). The “modern view” in trespass law is to allow an action based on
       intangible entries. See        Stephens v. Koch Foods, LLC, 667 F. Supp. 2d 768, 795 (E.D. Tenn. 2009).



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